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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE


BRIDGET PARKER,                               )
   Plaintiff                                  )
                                              )
                                              )
                                              )
                                              )
   v.                                         )
                                              )
                                              )       Docket No. 2:17-CV-00216-GZS
JOSH DALL-LEIGHTON,                           )
SCOTT LANDRY,                                 )
RANDALL LIBERTY,                              )
RENEE SHANKS,                                 )
DR. JOSEPH FITZPATRICK, and                   )
STATE OF MAINE,                               )
   Defendants                                 )

    DEFENDANT RENEE SHANKS’S MOTION TO DISMISS THE PLAINTIFF’S
COMPLAINT IN ACCORDANCE WITH F.R.CIV.P. 12((b)(6) FOR FAILURE TO STATE A
              CLAIM UPON WHICH RELIEF CAN BE GRANTED

   NOW COMES the Defendant, Renee Shanks, by and through her attorney, Patrick S. Bedard,

and moves that this Honorable Court dismiss the Plaintiff’s Complaint against Renee Shanks for

Failure to State a Claim Upon Which Relief Can Be Granted. F.R.Civ.P. 12(b)(6). The

Defendant Renee Shanks submits a Memorandum of Law in Support of her Motion to Dismiss.

   WHEREFORE the Defendant Renee Shanks moves that this Honorable Court dismiss the

Plaintiff’s Complaint against her for failure to state a claim upon which relief can be granted.
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                                                    RESPECTFULLY SUBMITTED:
                                                    RENEE SHANKS
                                                    By Her Attorneys
                                                    DAVID J. BOBROW, ME Bar No. 9164
                                                    PATRICK S. BEDARD, ME Bar No. 3813
                                                    BEDARD & BOBROW, PC.
                                                    P.O. Box 366
                                                    9 Bradstreet Lane
                                                    Eliot, ME 03903
                                                    207-439-4502

Date: September 14, 2017                            /s / David J. Bobrow
                                                    David J. Bobrow, Esq.


Date: September 14, 2017                            /s / Patrick S. Bedard
                                                    Patrick S. Bedard, Esq.


                                 CERTIFICATE OF SERVICE

    I hereby certify that on this date I served a copy of the Defendant Renee Shanks’s Motion To
Dismiss The Plaintiff’s Complaint In Accordance With F.R.CIV.P. 12((b)(6) For Failure To
State A Claim Upon Which Relief Can Be Granted on all counsel on record via the ECF system.

Date: September 14, 2017                            /s / Patrick S. Bedard
                                                    Patrick S. Bedard, Esq.
